Case 2:05-cr-20113-.]DB Document 54 Filed 07/01/05 Pagelon Pa lD 53

  

 

lN THE uNlTED sTATEs DlsTRlcT couRTH\ED BY--- »-~~~‘°'“
FOFt THE WEsTEaN DlsTRlcT oF TENNEssEE 1_ 51
WESTERN DlvlleN 05 Jl.ll. -l lll‘l -
Wul~.léiiz rt ouLD
CtEill<, U.S, BlSTFllCl GGLlil
uN:TED sTATEs OF AMEFrch W!D em MEMPHB
Plaintirr
vs. th. N0.05-20113-B
RAFAT MAWLAW|,
cHANDRA NETTEFls AusTlN TA\rl_on,
KAR|M FlAle,
Detendants.

 

ORDEFl ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendant _<, requested a continuance ot the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 With a
report date of llllondav, October 31. 2005. at 10:30 a.m., in Courtroom l, llth F|oor of
the Federal Building, lVlemphis, TN.

The period from Ju|y 15, 2005 through November18, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends otjustice served in allowing for additional time
to prepare outweigh the need for a §E€edy trial.

iT is so ORDERED this lng da _ e, 2005.

/

J A l REEN
NlT D sTATEs DlsTl=rlc JUDGE

'l`hls doci_rrient entered on the docket heel in Cornpliance

with sure 55 and/or szib) Fsch on ~’ __‘:_Q§;, @

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20113 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
1\/lemphis7 TN 38105

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

1\/lemphis7 TN 38111

William D. Massey
MASSEY & MCCLUSKY
3074 East Street
1\/lemphis7 TN 38128

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

1\/lemphis7 TN 38128

Honorable J. Breen
US DISTRICT COURT

